Case 1:02-cV-01152-.]DB-tmp Document 611 Filed 07/05/05 Page 1 of§ Page|D 716

UNlTED STATES DlSTRlCT CoURT WQU
Fu.zn B’Y °°
FoR THE WESTERN DISTRlCT 0F TENNESSEE
EASTERN DlvlSloN

05 JUL -5 PH 5= \3

 

LARRY STEVE MELTON, LARRY S.
MELTON, and R & J OF TENNESSEE, INC.,

Plaintiffs,

VS.

BANK OF LEXINGTON branch of the BANK
()F FRIENDSHIP, TERESA HARRIS, B & H
INVESTMENTS, INC., BENNlE FESMIRE,
DIANE TUCKER, HAROLD WALDEN
BLANKENSHIP, DEAN BLANKENSHIP,
FRANKIE STANFH_.L, KEVIN CARTER,

The law firm of MILAM, CARTER & STANFILL,

REGINA MILLER, TODD HENDERSON,
WILLIAM \’VILH]TE, DAVID RH)DICK,

The law finn of H()LMES, RICH, SIGLER &
RIDDICK, DON WEBSTER, JIMMY
BARBOUR, WALDON GWINN, JAMES
PUTNAM, 'I`]M PILKINGTON, .]AMES E.
SMITH, M.V. WILLIAMS, .]R., INVESTMENT
MANAGEMENT FINANCE, INC., and JOHN
I)OES l, II, IlI and IV,

Defendants.

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No: 1-02-1152 B
JURY DEMANDED

 

()RDER GRANTING PLAINTIFF LARRY S. MELTON ENLARGEMENT

OF TTME

 

lt appearing to the Court that a proper Motion for Enlargement ofTI`me has been filed by the

P¥aintit`t`, harry S. Melton, pro se, and for good cause shown the motion is granted; therefore,

IT IS ACCORDINGLY ORDERED that the Piaintiff, Larry S. Melton, is granted until

Friday, Ju]y 08, 2005 to respond to the Defendant Bank of Friendship’s Notice of Fi]ing of

Documents in Camera dated May 31, 2005 _

lT IS S() ORI)ERED this § day of.lu]y, 2005..

bw

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This document entered on the dockw U'Nl FED STATES B'I‘S‘I“R]CT_.VUDGE

W`lth Ftu\e 58 and/or ?9(3) FRCP on

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CERT| FICATE OF SERVICE

On the 301h day ofJune 2005, l hereb

y certify that a copy of the foregoing P]aintifi` Larry

S. Melton’s proposed Order Grantl`ng Enlargelnent of Tl`me has been sent via U.S. Mail, postage

prepaid, to the following

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"{>M ge VU

Lzllrry S. Meltoah, pro se /

 

 

July 6, 2005 to the parties listcd.

Notice of Distribution

This notice confirms a copy of thc document docketed as number 611 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on

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Honorable J. Breen
US DISTRICT COURT

